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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                            Eastern District of North Carolina


 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Prize Management, LLC



    2. All other names debtor used                SandRidge Materials
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                   8      2 – 4    2   4    8   3    3   4
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business



                                                   PO Box 758
                                                   Number          Street                                      Number        Street

                                                   Rich Square, NC 27869
                                                   City                                  State   ZIP Code      City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   Northampton                                                 place of business
                                                   County


                                                                                                               8287 Hwy 46
                                                                                                               Number        Street

                                                                                                               Garysburg, NC 27831
                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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Debtor      Prize Management, LLC                                                                               Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    2     1   2   3

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                        When                    Case number
                                                                                                              MM / DD / YYYY
     If more than 2 cases, attach a                      District                                      When                     Case number
     separate list.                                                                                           MM / DD / YYYY

  10. Are any bankruptcy cases pending          ❑ No
                                                ✔ Yes. Debtor Sand Ridge Development Assn., Inc.
      or being filed by a business partner
      or an affiliate of the debtor?            ❑                                                                              Relationship Affiliate
                                                         District Eastern District of North Carolina                            When           9/14/2023
     List all cases. If more than 1, attach a
                                                                                                                                              MM / DD / YYYY
     separate list.
                                                         Case number, if known 23-02678




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor        Prize Management, LLC                                                                      Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone

          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ❑ Funds will be available for distribution to unsecured creditors.
                                      ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                      ❑
                                         creditors.

         14. Estimated number of
                                       ✔ 1-49 ❑ 50-99
                                       ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets          ❑ $0-$50,000                          ✔ $1,000,001-$10 million
                                                                             ❑                                         ❑ $500,000,001-$1 billion
                                       ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                       ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
              Case 23-02681-5-DMW                    Doc 1 Filed 09/14/23 Entered 09/14/23 12:46:16                                         Page 4 of 15

Debtor        Prize Management, LLC                                                                            Case number (if known)
             Name



                                            ❑ $0-$50,000                              ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                                                                      ✔ $10,000,001-$50 million
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑                                         ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million               ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     09/14/2023
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Alton Williams, Jr.                                            Printed name
                                                                                                                                       Alton Williams, Jr.
                                                   Signature of authorized representative of debtor


                                                   Title                        President



         18. Signature of attorney
                                               ✘                      /s/ William P. Janvier                        Date      09/14/2023
                                                                                                                              MM/ DD/ YYYY
                                                   Signature of attorney for debtor



                                                    William P. Janvier
                                                   Printed name

                                                    Stevens Martin Vaughn & Tadych, PLLC
                                                   Firm name

                                                    2225 W Millbrook Road
                                                   Number          Street


                                                    Raleigh                                                            NC               27612
                                                   City                                                               State            ZIP Code



                                                    (919) 582-2300                                                      wjanvier@smvt.com
                                                   Contact phone                                                       Email address



                                                    21136                                                               NC
                                                   Bar number                                                          State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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 Fill in this information to identify the case:

 Debtor name                            Prize Management, LLC

 United States Bankruptcy Court for the:
                            Eastern District of North Carolina


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     Alton Williams Jr                                                                                                                                           $908,333.00
      1021 East Lawn Dr.
      Teaneck, NJ 07666


2     Alton Williams Jr                                                                                                                                           $208,213.97
      1021 East Lawn Dr.
      Teaneck, NJ 07666


3     Dean Arnold                                                                                                                                                  $63,247.50
      30 Pepperridge Road
      Howell, NJ 07731


4     Douglas Carver Community                                                                                                                                    $822,335.66
      Developers, Inc.
      Attn: Managing Agent
      1021 East Lawn Drive
      Teaneck, NJ 07666
5     Douglas Carver Community                                                                                                                                    $249,424.44
      Developers, Inc.
      Attn: Managing Agent
      1021 East Lawn Drive
      Teaneck, NJ 07666
6     Ennis Williams                                                                                                                                              $312,019.27
      437 Bryantown Road
      Rich Square, NC 27869


7     First Bank                                                              SBA Loan                                                                        $4,006,315.35
      Attn: Managing Agent
      355 N. Bilhen Street
      Troy, NC 27371

8     Jada Harris                                                                                                                                             $1,232,249.98
      2 Blue Stone Ln.
      Greensboro, NC 27407



Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
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Debtor       Prize Management, LLC                                                                            Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9     Jada Harris                                                                                                                                        $128,845.26
      2 Blue Stone Ln.
      Greensboro, NC 27407


10 Jayshawn Pickett                                                                                                                                      $294,583.31
   602 19th Street
   Butner, NC 27509


11 Joanne Drew                                                                                                                                           $286,750.49
   PO Box 758
   Rich Square, NC 27869


12 Joe Wilson Rascoe                                                                                                                                     $205,782.00
   519 Barrus Mill Road
   Jackson, NC 27845


13 Jones Electric Contractor, Inc.                                                                                                                       $170,858.36
   Attn: Managing Agent
   1398 Governor Harrison Pkwy
   Brodnax, VA 23920

14 KPE Media                                                                                                                                               $75,000.00
   Attn: Managing Agent
   PO Box 480491
   Charlotte, NC 28269

15 Leroy Scott                                                                                                                                           $321,041.00
   PO Box 177
   Pleasant Hill, NC 27866


16 Mazo Capital, LLC                                                                                                                                       $99,096.14
   Attn: Managing Agent
   300 Spectrum Dr. #1070
   Irvine, CA 92618-4925

17 Sand Ridge Development Assoc                                                                                                                          $530,390.37
   Attn: Managing Agent
   2326 Hwy 305
   Rich Square, NC 27869-9427

18 Sarah Pickett                                                                                                                                         $285,360.58
   602 19th Street
   Butner, NC 27509


19 Shawn Williams                                                                                                                                          $64,854.00
   33 Cedar Avenue
   Montclair, NJ 07042


20 Shenna Barr                                                                                                                                            $371,116.88
   14 Holly Lane
   Garfield, NJ 07026


Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                            RALEIGH DIVISION

IN RE: Prize Management, LLC                                                          CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      09/14/2023            Signature                                 /s/ Alton Williams, Jr.
                                                                       Alton Williams, Jr., President
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                              Agnes Arnold
                              2B Ardsley Avenue
                              Whiting, NJ 08759




                              Alton Williams Jr
                              1021 East Lawn Dr.
                              Teaneck, NJ 07666




                              Amur Equipment Finance
                              Attn: Managing Agent
                              304 West 3rd Street
                              Grand Island, NE 68801



                              B&B Hose & Rubber Co., Inc.
                              Attn: Managing Agent
                              4604 Bainbridge Blvd.
                              Chesapeake, VA 23320



                              Carter Machinery Company.
                              Inc.
                              Attn: Managing Agent
                              PO Box 751053
                              Charlotte, NC 28275


                              Central Carolina Scale
                              Attn: Managing Agent
                              5393 Farrell Road
                              Sanford, NC 27330



                              Charles Drew
                              1547 NC Hwy 305
                              Rich Square, NC 27869




                              Common Wealth Equipment
                              Corp.
                              Attn: Managing Agent
                              36 Hazelton Street
                              Ashley, PA 18706
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                              Corporation Service Company
                              Attn: Managing Agent
                              801 Adlai Stevenson Dr.
                              Springfield, IL 62703



                              Corporation Service Company,
                              as rep
                              Attn: Managing Agent
                              PO Box Box 2576
                              Springfield, IL 62708


                              Dean Arnold
                              30 Pepperridge Road
                              Howell, NJ 07731




                              Douglas Carver Community
                              Developers, Inc.
                              Attn: Managing Agent
                              1021 East Lawn Drive
                              Teaneck, NJ 07666


                              Dredging Supply Company,
                              Inc.
                              Attn: Managing Agent
                              156 Airport Road
                              Reserve, LA 70084


                              Electric Power, Inc.
                              Attn: Managing Agent
                              PO Box 2009
                              Chester, VA 23831



                              Ennis Williams
                              437 Bryantown Road
                              Rich Square, NC 27869




                              Evonne Burgess
                              72 West Hudson Ave Apt. A1
                              Englewood, NJ 07631
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                               First Bank
                               Attn: Managing Agent
                               355 N. Bilhen Street
                               Troy, NC 27371



                               Folla Capital
                               Attn: Managing Agent
                               3722 Shipyard Blvd. Ste. E
                               Wilmington, NC 28403



                               Gregory Poole Equipment
                               Comp.
                               Attn: Managing Agent
                               PO Box 60457
                               Charlotte, NC 28260


                               Harvest Time Peanut Co., LLC
                               Attn: Managing Agent
                               PO Box 117
                               Gaston, NC 27832



                               Hendren, Redwine & Malone,
                               PLLC
                               Attn: Managing Agent
                               4600 Marriott Dr.
                               Raleigh, NC 27612


                               Internal Revenue Service
                               Attn: Managing Agent
                               PO Box Box 7346
                               Philadelphia, PA 19101-7346



                               Jada Harris
                               2 Blue Stone Ln.
                               Greensboro, NC 27407




                               Jayshawn Pickett
                               602 19th Street
                               Butner, NC 27509
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                               Joanne Drew
                               PO Box 758
                               Rich Square, NC 27869




                               Joe Wilson Rascoe
                               519 Barrus Mill Road
                               Jackson, NC 27845




                               Jones Electric Contractor, Inc.
                               Attn: Managing Agent
                               1398 Governor Harrison Pkwy
                               Brodnax, VA 23920



                               Kent Investments Inc of NC
                               Attn: Managing Agent
                               PO Box 480491
                               Charlotte, NC 28269



                               KPE Media
                               Attn: Managing Agent
                               PO Box 480491
                               Charlotte, NC 28269



                               L&B Dump Service, LLC
                               Attn: Managing Agent
                               PO Box 177
                               Pleasant Hill, NC 27890



                               Leroy Scott
                               PO Box 177
                               Pleasant Hill, NC 27866




                               Mazo Capital, LLC
                               Attn: Managing Agent
                               300 Spectrum Dr. #1070
                               Irvine, CA 92618-4925
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                               NC Attorney General
                               Attn: Managing Agent
                               9001 Mail Service Center
                               Raleigh, NC 27699-9001



                               NC Dept. of Revenue
                               Attn: Managing Agent
                               PO Box 1168
                               Raleigh, NC 27602-1168



                               Oakmont Capital Holdings,
                               LLC
                               Attn: Managing Agent
                               100 Liberty Street
                               Warren, PA 16365


                               Oakmont Capital Service
                               Attn: Managing Agent
                               PO Box 843840
                               Dallas, TX 75284-3840



                               Pivotal Financial Solutions
                               Attn: Managing Agent
                               2 Blue Stone Ln.
                               Greensboro, NC 27847



                               Poyner Spruill LLP
                               Attn: Matthew P. Weiner
                               301 Fayetteville St. Ste. 1900
                               Raleigh, NC 27601



                               Randy Bullock
                               Attn: Managing Agent
                               165 Joe Carey Road
                               Winterville, GA 30683



                               Sand Ridge Development
                               Assn., Inc.
                               2326 Hwy 305
                               Rich Square, NC 27869-9427
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                               Sand Ridge Development
                               Assoc
                               Attn: Managing Agent
                               2326 Hwy 305
                               Rich Square, NC 27869-9427


                               Sarah Pickett
                               602 19th Street
                               Butner, NC 27509




                               Shawn Williams
                               33 Cedar Avenue
                               Montclair, NJ 07042




                               Shenna Barr
                               14 Holly Lane
                               Garfield, NJ 07026




                               Unisearch, Inc.
                               Attn: Managing Agent
                               1780 Barnes Blvd.
                               Tumwater, WA 98512



                               US Attorney General - US DOJ
                               Attn: Managing Agent
                               950 Pennsylvania Ave., NW
                               Washington, DC 20530



                               US Attorney's Office (ED)
                               Attn: Managing Agent
                               150 Fayetteville St. Ste. 2100
                               Raleigh, NC 27601



                               Wells Fargo
                               Attn: Managing Agent
                               PO Box 29482
                               Phoenix, AZ 85038-8650
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                                                   United States Bankruptcy Court
                                                    Eastern District of North Carolina

In re    Prize Management, LLC                                                                     Case No.
                                                                          Debtor(s)                Chapter                     11



                                     CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or recusal, the
undersigned counsel for               Prize Management, LLC                 in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the corporation's(s')
equity interests, or states that there are no entities to report under FRBP 7007.1:




✔ None [Check if applicable]
❑


             09/14/2023                                             /s/ William P. Janvier
Date                                              William P. Janvier
                                                  Signature of Attorney or Litigant
                                                  Counsel for        Prize Management, LLC
                                                  Bar Number: 21136
                                                  Stevens Martin Vaughn & Tadych, PLLC
                                                  2225 W Millbrook Road
                                                  Raleigh, NC 27612
                                                  Phone: (919) 582-2300
                                                  Email: wjanvier@smvt.com




                                                                          1
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Rev. 11/22/16
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                                                   UNITED STATES BANKRUPTCY COURT
                                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                           RALEIGH DIVISION

                In re: Debtor(s)
                Prize Management, LLC                                                         Case No.
                                                                                              Chapter 11
                                                               Debtor(s)


                                         DEBTOR'S ELECTRONIC NOTICING REQUEST (DEBN)
                CHECK ONLY ONE BOX FOR THE APPLICABLE SECTION BELOW:
                 ✔ Initial Request: (Check this box to begin receiving notices and orders from the U.S. Bankruptcy Court via email.)
                 ❑

                 Pursuant to Bankruptcy Rule 9036, I hereby request receipt of court notices and orders via email, instead of U.S. mail, from the
                 Bankruptcy Noticing Center (BNC) through the U.S. Bankruptcy Court's Debtor Electronic Bankruptcy Noticing (DeBN) program.

                 I understand that this request is limited to receipt of only notices and orders filed by the U.S. Bankruptcy Court. I will continue to
                 receive documents filed by all other parties, such as the trustee and creditors, via U.S. mail or in person pursuant to court rules.

                 I understand that I will receive electronic notice of any documents entered by the court in any current or future bankruptcy or
                 adversary case from any bankruptcy court district in which I am listed with the same name and address, including cases where I
                 am listed as a creditor.

                 I understand that the first time the BNC receives an email bounce-back (undeliverable email), my DeBN account will be
                 automatically disabled. I will then receive notices and orders via U.S. mail, and I must file an updated request form if I wish to
                 reactivate my account.

                 I understand that enrollment in DeBN is completely voluntary, and I may file a request to deactivate my account at any time.


                 ❑ Decline Request: (Check this box to decline receiving notices and orders from the U.S. Bankruptcy Court via email.)

                 ❑ Update to Account Information: (Check this box to make changes to your existing DeBN account.)
                 I request the following updates(s) to my DeBN account:

                   ❑ I have a new email address as indicated below.
                   ❑ I filed a new bankruptcy case, and I have an existing DeBN account. Please review my account to ensure my name and
                   address in my account match this new case.

                   ❑ I request reactivation of my DeBN account so that I may receive court notices and orderes via email, instead of U.S mail.

                 ❑ Request To Deactivate Electronic Noticing: (Check this box to request deactivation of your DeBN account.)
                 I request deactivation of my DeBN account. I understand that by deactivating my account, I will begin receiving notices and orders
                 entered by the U.S. Bankruptcy Court via U.S. mail, instead of email.
                 I understand that I will continue to reveive electronic notices until such time as the Court has deactivated my account.

                I am a debtor in this bankruptcy case, or the debtor's authorized representative if the debtor is a business, and I have read the
                applicable section check-marked above and understand and agree to the terms and conditions set forth therein. Neither the U.S.
                Bankruptcy Court nor the BNC bears any liability for errors resulting from the information I have submitted on this form. If I already
                have a different electronic noticing account, you may deactivate that account and create this DeBN account.


                Joint debtors who each request enrollment or already have a DeBN account must file separate forms.


                /s/ Prize Management, LLC                                                               Date: 09/14/2023
                Prize Management, LLC


                Printed Name (and title if not the debtor): Prize Management, LLC


                Email Address (type or print clearly):                     alton@sandridgematerials.com
